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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS
__________________________________________
TANIA CABRERA,                             )
      Plaintiff,                           )
v.                                         )
THE TOWN OF AMHERST,                       )
DIEGO SHARON,                              )          C.A. 3:24-cv-30031
SARA BARBER-JUST,                          )
MARTA GUEVARA, MICHAEL MORRIS )
CELIA MAYSLES and JULIE WOYNER, )
      Defendants                           )
__________________________________________)


                      MOTION FOR EXTENSION OF TIME
Counsel for the Plaintiff moves for an extension of thirty (30) days to serve the

complaint. As reasons therefore:


   1. Prior to service of the complaint, counsel for Defendants reached out and

      conferred with Plaintiff’s counsel regarding issues that Defendants believe to

      be defective and/or dispositive;

   2. Plaintiff’s counsel has been working on filing an amended complaint,

      followed by service of the amended complaint;

   3. Plaintiff’s counsel is currently on military orders, and despite diligent efforts,

      was unable to file and serve within the ninety-day window.


Therefore, Plaintiff’s counsel requests an additional thirty (30) days to file the

amended complaint and effectuate service of the same on the defendants in this

matter.
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